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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF NEW YORK


HONEYWELL INTERNATIONAL INC.,
                                      Plaintiff,
                      v.                                 No.: 5:18-CV-0646 (FJS/ML)
BUCKEYE PARTNERS, LP, et al.,
                                  Defendants.



HONEYWELL INTERNATIONAL INC.,
                                      Plaintiff,
                      v.
                                                         No. 5:18-CV-01176 (FJS/ML)
SUNOCO (R&M), LLC, SUNOCO, INC.,                                (Consolidated)
ATLANTIC REFINING & MARKETING,
LLC, and SUN PIPE LINE COMPANY, LLC,
                                  Defendants.



ENERGY TRANSFER (R&M), LLC, and
ETC SUNOCO HOLDINGS, LLC,
                           Counter-Claimants,
                      v.                                 No. 5:18-CV-01176 (FJS/ML)
                                                                (Consolidated)
HONEYWELL INTERNATIONAL INC.

                           Counter-Defendant.


                              STIPULATION OF DISMISSAL

       NOW COMES Plaintiff/Counter-Defendant Honeywell International Inc. (“Honeywell”)

and Defendants/Counter-Claimants Energy Transfer (R&M), LLC (f/k/a Sunoco (R&M), LLC)

and ETC Sunoco Holdings LLC (f/k/a Sunoco, Inc.) 1. (collectively, “Sunoco Defendants”), parties


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 Originally named defendant Atlantic Refining and Marketing, LLC merged with and into
defendant Energy Transfer (R&M), LLC on February 1, 2020. Originally named defendant Sun



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to the above-captioned actions, through their undersigned counsel jointly stipulate and agree

pursuant to Federal Rule of Civil Procedure 41(a) as follows:

       Honeywell hereby dismisses with prejudice its action against the Sunoco Defendants,

Complaint, ECF No. 1, Honeywell International Inc. v. Sunoco (R&M), LLC, et al., No. 5:18-CV-

01176 (FJS/ML) (N.D.N.Y.), and each and every count and claim asserted therein, with each party

to bear their own costs, expenses, and fees.

       Sunoco Defendants hereby dismiss with prejudice their counterclaim against Honeywell,

Counterclaim, ECF No. 327, Honeywell International Inc. v. Buckeye Partners, L.P., et al., No.

5:18-CV-00646 (FJS/ML) (N.D.N.Y.), with each party to bear their own costs, expenses, and fees.

       The parties further stipulate that no party hereto is an infant or incompetent.



       Respectfully submitted this 6th day of March, 2025.



SO STIPULATED AND AGREED:

For Plaintiff/Counter-Defendant Honeywell International Inc.

ARNOLD & PORTER KAYE SCHOLER LLP
/s/ Tyler L. Burgess
Tyler L. Burgess                                       IT IS SO ORDERED.
Daniel A. Cantor
Tyler.Burgess@arnoldporter.com
Daniel.Cantor@arnoldporter.com
(202) 942-5505 (Burgess)
(202) 942-5765 (Cantor)
                                                       Date: March 10, 2025




Pipe Line Company, LLC merged with and into Energy Transfer (R&M), LLC on September 1,
2018.



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For Defendants/Counter-Claimants Energy Transfer (R&M), ETC Sunoco Holdings LLC,
Atlantic Refining & Marketing, LLC, and Sun Pipe Line Company, LLC:

HEROLD LAW, P.A.
/s/ John J. McAleese, III
John. J. McAleese, III
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